                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                      NO: 5:08-CR-15-FL-3


 UNITED STATES OF AMERICA                          )
                                                   )
                 Plaintiff,                        )
                                                   )
                   v.                              )                  ORDER
                                                   )
 KETA DANYELLE LAMB                                )
                                                   )
                 Defendant.                        )

       __________________________________________________________


       On April 23, 2008, this Court ordered that the Defendant be evaluated by at least one

qualified psychologist or psychiatrist to determine her competency to proceed with her detention

hearing on revocation and ultimately her trial. [DE-65]. On August 19, 2008, this Court received

a forensic report detailing the results of the Court ordered evaluation. A mental competency hearing

was held on Wednesday, October 15, 2008, at 10:00 a.m in the Sixth Floor Courtroom of the Terry

Sanford Federal Building, at 310 New Bern Avenue, Raleigh, North Carolina. At this hearing, the

Defendant was present and represented by counsel.

       “The test for determining competency is whether ‘[a defendant] has sufficient present ability

to consult with his lawyer with a reasonable degree of rational understanding . . . and whether he

has a rational as well as a factual understanding of the proceedings against him.’ ” United States




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v. General, 278 F.3d 389, 395-96 (4th Cir. 2002) (quoting Dusky v. United States, 362 U.S. 402

(1960)). The forensic report drafted by Rodolfo A. Buigas, Ph.D, Forensic Exam Coordinator,

concludes that:

        Essential to the issue of competency to stand trial is whether or not a mental disease
        or defect is present and interfering with the defendant’s ability to understand the
        legal procedures and to properly assist in her own defense. The defendant does not
        appear to currently suffer from mental illness that would interfere with her trial
        competency. She has the ability to understand the legal process and assist in her own
        defense if motivated to do so. Hence, the defendant’s degree of trial competency is
        satisfactory, and it is recommended that Ms. Lamb be found Competent to Stand
        Trial.

(Forensic Eval, p. 10).

The Defendant did not present any evidence during the competency hearing that would call the

conclusion of the forensic report into doubt. The undersigned has reviewed the ten-page report in

its entirety and finds that the conclusion is adequately supported by the evidence. Based on this

evidence, the Court finds that the Defendant is competent to stand trial.



        DONE AND ORDERED in Chambers at Raleigh, North Carolina this 15th day of October,

2008.




                                               __________________________________
                                                       William A. Webb
                                                       U.S. Magistrate Judge




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